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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             )
                                      )
                    Plaintiff,        )
                                      )
             v.                       )             Case No. 1:04-cv-00798-PLF-GMH
                                      )
ALL ASSETS HELD AT BANK JULIUS )
Baer & Company, Ltd., Guernsey        )
Branch, account number 121128, in the )
 name of Pavlo Lazarenko, et al.      )
                                      )
                    Defendants In Rem )

                                    PROPOSED ORDER

      Plaintiff United States of America and Claimant Pavel Lazarenko’s (the “Parties”) joint

motion to modify the July 29, 2019 scheduling order is GRANTED. It is hereby ORDERED:

   1) that the government’s reply to claimant Pavel Lazarenko’s submission of July 23, 2019,

      and its opposition to his cross-motion for partial summary judgment shall be filed on or

      before September 9, 2019; and

   2) Claimant Pavel Lazarenko’s reply in further support of his cross motion for partial

      summary judgment shall be filed on or before September 23, 2019.




                                            Hon. J. Michael Harvey
                                            United States Magistrate Judge
